       Case 1:15-cr-10338-FDS Document 1362 Filed 09/26/17 Page 1 of 3



                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,

       v.
                                                  Criminal No. 15-10338-FDS
22. RAFAEL LEONER-AGUIRRE,
a/k/a “Tremendo,”

                    Defendant.


          GOVERNMENT’S SUPPLEMENTAL RESPONSE TO
       LEONER-AGUIRRE’S MOTION FOR BILL OF PARTICULARS

      At the previous Group Four status conference held on September 12, 2017, the

Court expressed reservations about granting the defendant’s motion for a bill of

particulars (Docket No. 1286). The Court indicated that it would consider whether

there were other means of ensuring that the defendant had sufficient notice of the

racketeering evidence the government intended to introduce against him at trial.

      As the Court knows, the government has provided early Jencks Act disclosures

detailing the kinds of evidence it intends to introduce against all of the Group Four

defendants. In the case of Leoner-Aguirre, for instance, the government has already

produced law enforcement reports, proffer interview reports, and grand jury minutes

from cooperating witnesses concerning Leoner-Aguirre’s April 6, 2014 machete

attack, his April 16, 2014 attempted murder (initially tried in state court), and his

role in the April 2015 conspiracy to assassinate CW-2. The government also

anticipates introducing evidence from several cooperating witnesses (detailed in

previously produced reports and grand jury testimony) that Leoner-Aguirre was sent
        Case 1:15-cr-10338-FDS Document 1362 Filed 09/26/17 Page 2 of 3



by MS-13 to lead the Enfermos Criminales Salvatrucha (ECS) clique in Chelsea, that

upon arriving in Chelsea he energized the ECS clique, that he directed clique

members to commit violent attacks against 18th Street gang members, that he

directed clique members to commit robberies, and that under Leoner-Aguirre’s

leadership ECS members provided funds to sustain the clique and advance the goals

of MS-13.

       Viewed in this light, the concern is less about notice to the defendant—he has

ample notice of the kinds of evidence the government intends to introduce against

him—and more about the need for the Court to have sufficient information in advance

of trial to efficiently and effectively manage the Group Four trial. To that end, the

government advises that on or about October 23, 2017, it expects to file a trial brief

with the Court summarizing the evidence that the government anticipates

introducing against the Group Four defendants at trial, the sources of that evidence,

and the significant violent crimes or other racketeering acts that are likely to be the

focus of the trial.



                                              Respectfully submitted,

                                              WILLIAM D. WEINREB,
                                              Acting United States Attorney

                                        By:   /s/ Christopher Pohl
                                              Christopher Pohl
                                              Glenn A. MacKinlay
                                              Kunal Pasricha
                                              Kelly Begg Lawrence
                                              Assistant U.S. Attorneys



                                          2
       Case 1:15-cr-10338-FDS Document 1362 Filed 09/26/17 Page 3 of 3




                           CERTIFICATE OF SERVICE

      I, the undersigned, hereby certify that this document filed through the ECF
system will be sent electronically to the registered participants as identified on the
Notice of Electronic Filing (NEF) on September 26, 2017.

                                        /s/ Christopher Pohl
                                        Christopher Pohl
                                        Assistant U.S. Attorney




                                           3
